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                             Memorandum ofUnderstanding

 ThisMemorandum ofUnderstanding (the "Memorandum") ismadeonApril 24, 2017,byand
 betweenFHC2017, LLC,a CaliforniaLimitedLiabilityCompanywithprinciple place of
 business atl4584 Weeth Drive, SanJose, California 95124 andFood For Soul, LLC, a
 California Limited Liability Company with principle place ofbusiness, at 1300 Fillmore St,
 SanFrancisco, California 94115 (hereinafter referred to as "FFS") together withFHC2017,
 LLC(the"Parties")forthepurposeofachievingthevariousaimsandobjectivesrelatingtothe
 Fillmore Heritage Center2017 (the "Project").

WHEREAS FHC2017, LLCandFFSdesireto enterintoanagreement bywhich
FHC2017, LLCandFFSwill worktogethertocompletetheProject; and

WHEREASFHC2017, LLCandFFSdesireto enterintoa Memorandum ofUnderstanding,
settingouttheconmrittneatsbyandworkingarrangementsofeachofthePartiestosuccessfully
compete for andimplement theProject, and

WHEREASFHC2017,LLCintendstorespondtotherequestforproposals. Fillmore Heritage
Center solicitedbythe SanFranciscoOfficeofEconomic andWorkforceDevelopment ("City").
Purpose
The purpose ofthis Memorandum is toprovide the framework for binding negotiating
more formal contracts regarding theFillmore Heritage Center 2017between FHC2017,
LLC andFFS, should FHC2017 be selected by the City and County of SanFrancisco to
pursuetheProject.

ObligationsoftheParties
The Parties acknowledge that pending negotiation ofa more formal contractual relationship, this
Memorandum creates binding commitments betweenthe Partiesto comply in goodfaithwiththe
terms ofthisMemorandum. Inaddition, thePartiesagreetoworktogetherinthetmespiritof
partnershiptoensurethatthereisa unitedvisibleandresponsiveleadershipoftheProjectandto
demonstratefinancial,administrative andmanagerialcommitmenttotheProject.
Obligations
The Parties agree that their obligations include, but arenot limited to

a.      IftheCity selectsFHC2017,LLCastheDeveloper, thenFHC2017shall, aspartofthe
        Project, leasetoFFSthebuilding space(approximately 5, 800 sqft) forFFSfor the restaurant
        known as 1300onFillmore ("thePremises")for$1. 50persquarefootpermonthfora term
        offiveyears, withtwo (2) options atFFS'sdiscretion for anadditional fiveyearseach.
        FHC2017 shall notchargeFFSrentforthePremisesuntil thelatterof; 1)'FHC2017
        opensthe 28,000 squarefoot restaurant andentertainment venue for operations to the
        general public or 2) FFS, LLC opens for operations to the general public, but not later than
        4 months after either conditionhasbeenmet.
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b.        Ifthe City selects FHC2017 asthe Developer, LLC, then FHC2017 shall provide $300, 000
          to FFSfor mutually agreed upon tenant improvements to the Premises by means ofa tenant
          improvement allowance.

c.        If the City selects FHC2017, LLC asthe Developer, then FHC2017, LLC agrees to
          cooperate in good faith in the creation ofa legal parcel consisting solely ofthe Premises in
          a timely manner, atFHC2017, LLC's expense. FFS or assignee shall purchase the parcel for
          a purchase price of $750, 000 together with full reimbursement ofthetenant improvement
          allowance paid by FHC2017. Within 60 days from when the City selects FHC2017 asthe
          Developer, FFSshall deposit$750,000intoescrowforthispurchase, andescrowshall be
          mutually controlledby bothparties.

d.        FFS agrees that FHC20 17 can include FFS as a non-exclusiye community partner in
          submitting FHC2017's proposal to the City for theProject

e.        ThePartieswillworktogether in good faith to obtain required government approvals for the
          Project.

f.        TheParties shall worktogether toj ointiy promote the Projects andthe tenets ofthis
          Memorandum.



Term
ThearrangementsmadebythePartiesbythisMemorandum shall remaininplacefrom April 24,
2017 until either (a) the City makes a final decision not to select FHC20I7 asthe Developer of
theProject, or(b) thepartiesnegodatea moreformal agreementconsistentwiththis
Memorandum following the City's selection ofFHC2017 to pursue the Project

Notice
AnynoticeorcommunicationrequiredorpemiittedunderthisMemorandumshallbesufficiently
given ifdelivered inperson orby certified mail, return receipt requested, tothe address setforth in the
openingparagraphor to suchotheraddressas oneparty may havefurnishedto the otherin
wnting.

Governing Law
ThisMemorandum shall be construed in accordancewith the laws ofthe State ofCalifornia.

Assignment
Neitherpartymayassignortransfertheresponsibilities oragreementmadehereinwifhouttheprior
writtenconsentofthenon-assigningparty, whichapprovalshallnotbeunreasonablywithheld.

Amendment
ThisMemorandummaybeamended orsupplemented inwritingjfthewritingissignedbythe
party obligated under this Memorandum.
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      Severabilhy
     ?anyprovlsionoftiusMemorandumisfoundtobeinvalidorunenforceableforanyreason,
     theremaimn§ProYisionswmcontinuetobevalidandenforceable. Ifacourtfindsthatany
     provisionofthisMemorandumisinvalidorunenforceable, butthatbylimitingsuchprovision
     itwouldbecome validandenforceable, thensuchprovisionwillbedeemedtobewritten.'
     construed,andenforced assolimited.

     Entire Agreement between tBaeParties
     Ihi^Asreeme?setsforth a. ndconstitutestheentireagreementandunderstandingbetween
                 1 withrespect tothesubjectmatterhereofandall prior agreements,
     understanding,promisesandrepresentations,whetherwrittenororal,~withrespectthereto.
     Understanding
     It ismutually agreedupon andunderstood byandamong theParties ofthisMemorandum

     a. EachPartywillworktogetherinacoordinatedfashionforthefulfillmentoftheProject.
 b, InnowaydoesthisagreementresfrictmvolvedPartiesfromparticipatinginsimilar
        agreements with otherpublic orprivate agencies, organizations, andindividuals
        with regard to the Fillmore Heritage Center

 c. Totheextentpossible, eachPartywillparticipatemthedevelopmentofthePrqject.
       ?cept asotherwisestatedabove'nothinginthismemorandum shallobligateany
       Parties tothetransfer offunds. Any endeavorinvolvingreimbursementor
       contribution offandsbetweenthePardes ofthis Memorandum will behandled in
       accordance with applicable laws, regulations, and procedures. Suchendeavors willbe
       outlinedinseparateagreementsthatshallbemadeinwritingbyrepresentativesofthe
       Partiesinvolvedandshallbeindependentlyauthorizedbyappropriatestatutory
       authority. ThisMemorandum doesnotprovide suchauthority
       In
e.
            theeye nt of   an   action, arbitration   or   proceeding brought by either party   to   enforce
       anyofAecovenantsandagreementsinthisMemorandum,theprevailingpartyshall
       beentitledtorecoverfromthenon-prevailingpartyanycosts,expenses(incTuding
       outofpocketexpenses)andreasonableattorneyfeesincurredinconnectioniwith
       such action, suit orproceeding.

f. ThisMemorandumisnotintendedtoanddoesnotcreateanyright,benefit,ortrust
       responsibility.

g. ThisMemorandumwillbeeffectiveuponthesignatureofbothParties.
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Signatories
ThisAgreementshallbesignedonbehalfofFHC2017,LLCbyTimShelton,General
Partner, andonbehalfofFFSbyMonettaWhite, Owner. ThisAgreement shallbeeffective
asofthe datefirstwrittenabove.




      FHC2017,LLC
      By Tim Shelton,
          Stging




     FoodFor Soul, LLC
     By Monetta White,
     Managing Member
